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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

In re:                                                          Case No. 8:95-08284-MGW
                                                                Chapter 7
THEODORE ROGERS


            Debtor(s).
_________________________________/

                             REPORT OF UNCLAIMED FUNDS

         The Trustee disbursed funds on October 7, 2017 . The following check dated October

7, 2017 has been returned as undeliverable and a stop payment has been issued.

CLAIM NO.               CHECK NO.              CLAIMANT                       AMOUNT

Surplus Funds            103                   Theodore Rogers                $57,633.37
                                               14306 N. 22nd St.
                                               Tampa, FL 33613


___________________________________________________________________________


         A check for the total, payable to the Clerk of the Court, is attached hereto and should
be deposited into the Unclaimed Funds Account.


Dated: November 10, 2017
                                               /s/ Dawn A. Carapella, Trustee
                                               Dawn A. Carapella
                                               Chapter 7 Trustee
                                               Post Office Box 67
                                               Valrico, FL 33595
                                               Tel: 813-685-8694
                                               dcarapellatrustee@gmail.com
